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                                                       July 21, 2023

BY ECF AND OVERNIGHT MAIL

Patricia S. Dodszuweit, Legal Chief Deputy Clerk
United State Court of Appeals for Third Circuit
James A. Byrne United States Courthouse
601 Market Street
Philadelphia, PA 19106

          Re:        ASHINC Corp., Case No. 22-2442
                     Catherine E. Youngman v Yucaipa American Alliance Fund I LP
Dear Ms. Dodszuweit:
         By way of update to the parties’ May 15, 2023 Status Report [D.I. 18], after many months
of negotiating, the parties are in the final stages of documenting a settlement agreement that will
resolve this appeal. We anticipate that the settlement agreement will be executed in the coming
weeks. Accordingly, the parties respectfully ask that the Court not rule on the following matter
that is sub judice: August 12, 2022, Order Regarding Jurisdiction [D.I. 3].

      We will keep the Court apprised of any developments, and are available at the Court’s
convenience if it has any questions.
                                                     Respectfully submitted,
                                                               /s/ Seth A. Niederman
                                                               Seth A. Niederman
                                                               DE Bar No. 4588

cc (via email):
Laura Davis Jones, Esq.
David M. Bertenthal, Esq.
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